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 AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT.                                                                  3
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                                                         Southern District of Georgia                                                   2:2
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                                                             Augusta Division
                   United States of America                          )
                                                                                                         CLEi ee rIST.OFuPk.
                                                                     ) Case No: CR1O2-0001I-001
                   Ralph Tyrorie Williams
                                                                     ) USM No: 10991-021
Date of Previous Judgment: December 13, 2002                         ) J. Pete Theodocion
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of          Ej
                              the defendant Ethe Director of the Bureau of Prisons      the court under 18 U.S.C.
§ 3582(e)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 292       months is reduced to         240 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to An Departures)
Previous Offense Level:                       40                        Amended Offense Level:     38
Criminal History Category:                     I                        Criminal History Category: I
Previous Guideline Range:             292        to 365 months          Amended Guideline Range: 235 to 293 months
IL SENTENCE RELATIVE TO AMENDED GUIDELIJE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):




III. ADDITIONAL COMMENTS
The Court has considered the defendant's conduct and all relevant factors of 18 U.S.C. § 3553(a), specifically
deterrence, punishment, and the need to protec . t the community, when determining that a sentence of 240 months
imprisonment as to each of Counts 2 and 6, to be served concurrently, is the appropriate societal response to the


Except as provided above, all provisions of the judgment dated December 13                                             in effect.
IT IS SO ORDE

OrderDate: ____________
                                                                                                Judge's signature


                                                                        Dudley H. Bowen, Jr.
Effective Date: ________________________                                United States District Judge
                     (if diff.rent from order date)                                           Printed name and title
